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  Fill in this information to identify the case:                                                                                           Date Filed: 06/01/2023
                                                                                                                                           Claim No: 536
  Debtor       Metal Services LLC


  United States Bankruptcy Court for the District of      District of Delaware


  Case number         22-10910




Official Form 410
Proof of Claim                                                                                                                                         04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a request
for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support
the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.
Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Part 1: Identify the Claim
  1.   Who is the current
                                    U.S. Specialty Insurance Company
       creditor?

                                     Name of the current creditor (the person or entity to be paid for this claim)


                                     Other names the creditor used with the debtor


  2.   Has this claim been
                                          No
       acquired from someone
       else?                              Yes.     From whom?

  3.   Where should notices
       and payments to the            Where should notices to the creditor be sent?          Where should payments to the creditor be
       creditor be sent?                                                                     sent? (if different)

       Federal Rule of              See Additional/Expanded Creditor Address(es) page:
       Bankruptcy Procedure
       (FRBP) 2002(g)               U.S. Specialty Insurance Company...
                                    McElroy, Deutsch, Mulvaney &a...
                                    Attn: Gary Bressler, Esq.
                                    300 Delaware Avenue, Suite 10...
                                    Wilmington, Delaware 19801
                                    P: 302-367-8393
                                    E: gloomis@mdmc-law.com




                                    Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                    __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

  4.   Does this claim amend
                                          No
       one already filed?
                                          Yes. Claim number on court claims registry (if known)         396              Filed on       01/06/2023

                                                                                                                                    MM/DD/YYYY

  5.   Do you know if anyone
                                          No
       else has filed a proof of
       claim for this claim?              Yes. Who made the earlier filing?




Official Form 410                                                                                                                                           Page 1
                                                              119480601233319177400001
                   CaseAbout
Part 2: Give Information 22-10906-MFW
                              the Claim as ofDoc
                                              the 902-1
                                                  Date theFiled
                                                          Case 06/19/23
                                                                Was Filed Page 2 of 35

 6.    Do you have any number
                                           No
       you use to identify the
       debtor?                             Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:


 7.    How much is a claim?          101,432.30                                           Does this amount include interest or other charges?

                                                                                               No

                                                                                               Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                                    charges required by Bankruptcy Rule 3001(c)(2)(A).


 8.    What is the basis of the
                                      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card
       claim?
                                      Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                      Limit disclosing information that is entitled to privacy, such as health care information.

                                      Please see Addendum



 9.    Is all or part of the claim
                                         No
       secured?
                                         Yes. The claim is secured by a lien on property

                                                  Nature of property

                                                        Real estate.           If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                               Attachment (Official Form 410-A)with this Proof of Claim.

                                                        Motor vehicle.

                                                        Other. Describe:       Please see Addendum



                                                   Basis for perfection:       Please see Addendum


                                                   Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                   example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been
                                                   filed or recorded.)

                                                   Value of property:


                                                   Amount of the claim that is secured:


                                                   Amount of the claim that is unsecured:                                             (The sum of the secured and
                                                                                                                                      unsecured amounts should match the
                                                                                                                                      amount in line 7.)


                                                   Amount necessary to cure any default as
                                                   of the date of the petition:


                                                   Annual Interest Rate (when case was filed)                                    %


                                                        Fixed

                                                        Variable




 10.    Is this claim based on a
                                              No
        lease?
                                              Yes.    Amount necessary to cure any default as of the date of the petition.        $



 11.    Is this claim subject to a
                                              No
        right of setoff?
                                              Yes.    Identify the property:       Please see Addendum




Official Form 410                                                               Proof Of Claim                                                                         Page 2
                               Case 22-10906-MFW                           Doc 902-1              Filed 06/19/23            Page 3 of 35
  12.   Is all or part of the claim
                                               No
        entitled to priority under
        11 U.S.C. § 507(a)?                    Yes.       Check one:                                                             Amount entitled to priority
        A Claim may be partly                  Domestic support obligations (including alimony and child support)
        priority and partly                    under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
        nonpriority.For example,
        law limits the amount                  Up to $3,350* of deposits toward purchase, lease, or rental of property
        entitled to priority.                  or services for personal, family, or household use. 11 U.S.C. §
                                               507(a)(7).

                                               Wages, salaries, or commissions (up to $15,150*) earned within 180
                                               days before the bankruptcy petition is filed or the debtor’s business
                                               ends, whichever is earlier. 11 U.S.C. § 507(a)(4)

                                               Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                               Other. Specify subsection of 11 U.S.C. § 507(a)() that applies.



                                          *Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

  13.   Is all or part of the claim
                                               No
        pursuant to 11 U.S.C
        § 503(b)(9)?                           Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20 days
                                               before the date of commencement of the above case, in which the goods have been sold to the Debtor in the ordinary
                                               course of such Debtor’s business. Attach documentation supporting such claim.



Part 3: Sign Below
 The person completing this proof           Check the appropriate box
 of claim must sign and date it.
 FRBP 9011(b).                                      I am the creditor.

                                                    I am the creditor’s attorney or authorized agent.
 If you file this claim electronically,
 FRBP 5005(a)(2) authorizes courts                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 to establish local rules specifying
                                                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 what a signature is
                                            I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 A person who files a fraudulent
                                            amount of the claim, the creditor gave the debtor credit for any payments received toward the debt
 claim could be fined up to
 $500,000, imprisoned for up to 5           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
 years, or both. 18 U.S.C. §§ 152,
 157, and 3571.                             I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on date & time           06/01/2023 at 02:32 pm PT
                                                                              MM / DD / YYYY HH : MM
                                            /s/M. Joseph Rosas
                                            Signature
                                            Print the name of the person who is completing and signing this claim:
                                            Name                               M.            Joseph         Rosas
                                                                               First Name    Middle Name Last Name


                                            Title                             Senior Bond Claims Attorney


                                            Company                           U.S. Specialty Insurance Company
                                                                              Identify the corporate servicer as the company if the authorized agent is a servicer
                                            Address                            801 S.
                                                                               Figueroa
                                                                               Street,
                                                                               Suite 800
                                                                               Number        Street

                                                                               Los
                                                                                             CA           90017
                                                                               Angeles
                                                                               City          State        ZIP Code

                                            Contact phone


                                            Email                             jrosas@tmhcc.om




Official Form 410                                                               Proof Of Claim                                                                       Page 3
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Additional/Expanded Creditor Address(es):

 Primary Address (Expanded)
 U.S. Specialty Insurance Company
 McElroy, Deutsch, Mulvaney & Carpenter, LLP
 Attn: Gary Bressler, Esq.
 300 Delaware Avenue, Suite 1014
 Wilmington, Delaware 19801
 Phone: 302-367-8393
 gloomis@mdmc-law.com




                                      Stretto Corporate Restructuring
                                    855.812.6112 inquiries@stretto.com
                                             cases.stretto.com
                                              Proof Of Claim                            Page 4
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x




      U.S. Specialty Insurance Company




      x




     McElroy, Deutsch, Mulvaney & Carpenter, LLP
     Attn: Gary Bressler, Esq.
     300 Delaware Ave., Suite 1014
     Wilmington, DE 19801

                  (302) 300-4515

                  gbressler@mdmc-law.com




      x                                             396                        1/6/2023



      x
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  x




         101,432.30
                                    x




       Please see Addendum




  x




            x                      Please see Addendum


                                   Please see Addendum




  x




   x                          Please see Addendum
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  x




      x




  x




                      06/01/2023



          /s/ Joseph M. Rosas




                     M.                        Joseph                   Rosas


                     Senior Bond Claims Attorney

                     U.S. Specialty Insurance Company


                     801 S. Figueroa Street, Suite 800


                     Los Angeles                               CA       90017


                                                                        jrosas@tmhcc.com
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                         IN T1HE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
    In re:                              )                         Ch. 11
                                        )
    PHOENIX SERVICES TOPCO LLC, et al., )                         Case No. 22-10906 (MFW)
                                        )
                              Debtors1. )

                                                 ADDENDUM

             The U.S. Specialty Insurance Company, for itself and on behalf of its affiliated sureties

(collectively, “Surety” or “USSIC”), submits this addendum in support of its amended proof of

claim:

                                               BACKGROUND

             1.     On September 27, 2022 (the “Petition Date”), the Debtors commenced their cases

under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) that are now

pending with this Court. The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to Bankruptcy Code Section 1107(a) and 1108.

                             Customs Bond and Indemnity-Related Agreements

             2.     In the ordinary course of their business, the Debtors are required to provide surety

bonds to certain third parties to secure the Debtors’ payment or performance of certain

obligations.

             3.     Prior to the Petition Date, the Surety issued customs bonds CB1000315 (the “CB

Customs Bond”) and BNDACE757156 (the “BND Customs Bond” and together with the CB

Customs Bond, the “Customs Bonds”) in favor of U.S. Bureau of Customs and Border Protection


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Phoenix Services Topco, LLC (4517); Phoenix Services Parent, LLC (8023); Phoenix Services Holdings
Corp. (1330); Phoenix Services International LLC (4693); Metal Services LLC (8793); Terracentric Materials LLC
(0673); Cool Springs LLC (8687); Metal Services Investment LLC (2924); and Phoenix Receivables, LLC (not
applicable). The Debtors’ mailing address is 4 Radnor Corporate Center, Suite 520, 100 Matsonford Road, Radnor,
PA 19087.
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(the “CBP”). As of the Petition Date, the penal sum of the Customs Bonds was $50,000 each.

Documentation evidencing both Customs Bonds is attached as Exhibit A.

       4.      In connection with Surety’s execution of the Customs Bonds, Debtor Metal

Services LLC dba Phoenix Services LCC (“Metal Services”), as bond principal and indemnitor,

executed and delivered indemnity and indemnity-related agreements in favor of the Surety.

       5.      These agreements, both executed on January 30, 2017, are specifically a General

Indemnity Agreement in favor of the Surety, as indemnitee (the “Indemnity Agreement”) and a

Collateral Security Agreement and Receipt (the “Collateral Security Agreement”). True and

correct copies of the Indemnity Agreement and Collateral Security Agreement are attached

hereto as Exhibit B and Exhibit C, respectively.

       6.      Pursuant to Paragraph 2 of the Indemnity Agreement, Metal Services is obligated

to:

       exonerate, indemnify and hold the Surety harmless from and against any and
       all demands, liabilities, losses, costs, damages, attorneys’ fees and expenses
       of whatever kind or nature…which arise by reason of, or in consequence of,
       the execution by the Surety of any Bond on behalf of the Principal and
       whether or not the Surety shall have paid any sums in partial or complete
       payment thereof….

       7.      Therefore, the Indemnity Agreement creates, among other rights, contractual

rights of indemnification and exoneration in favor of the Surety.

       8.      The Indemnity Agreement further requires that Metal Services pay all bond

premiums and to post collateral security upon demand from Surety if the Surety deems it

necessary to establish a reserve for potential claims or if a claim or demand is made against the

Surety, whether disputed or not. The Indemnity Agreement states such collateral

       may be held or utilized by Surety until it has received evidence of its complete
       exoneration and discharge from such claim or potential claims, and until it has
       been fully reimbursed for all loss, expense, attorneys’ fees and unpaid premiums.



                                                   2
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       9.       By way of the Collateral Security Agreement, Metal Services provided the Surety

with collateral in the form of $50,000 in cash (the “Bond Collateral”) for the benefit of the

Surety and its co-sureties, reinsurers, successors and assigns.

       10.      Pursuant to Paragraph 1 of the Collateral Security Agreement, Metal Services

granted “a security interest in the [Bond Collateral] together with any proceeds, product, increase

in value and income including rents thereon, and any additional or replacement collateral.”

       11.      The Collateral Security Agreement further states in Paragraph 1 that the “[Bond

Collateral] is hereby pledged…as security to unconditionally and fully protect the Surety in

connection with any and all bonding obligations” and the Surety may enforce the Collateral

Security Agreement to protect and/or reimburse the Surety:

       i.       For the enforcement and fulfillment of the provisions of the [Indemnity
                Agreement];

       ii.      Against any and all demands, liabilities, losses, costs, damages, attorneys’
                fees and expenses, investigative fees and expenses, accountants’ fees and
                expenses, engineering and other professional or consultants’ fees and
                expenses of any kind, in-house attorneys’ fees and expenses, interest,
                court costs and any and all other types of losses, costs or expenses of
                whatsoever kind or nature, which the Surety may sustain and/or incur…

       iii.     For the payment of all premiums on such Bonds and all other items of
                indebtedness due to the Surety and/or its agent from the Principal or
                Owner;

       iv.      For the performance of every agreement…made by the Owner or by any
                Principal concerning said Bonds;

       v.       To secure and indemnify the Surety from any and all losses, costs,
                interests, expenses, and/or legal fees which the Surety may incur or
                become liable for under the terms and provisions of all the agreements
                provided by the Owner and/or the Principal to the Surety, including but
                not limited to any Indemnity Agreement




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                                    First Day Motions

       12.     As part of their First Day Motions, the Debtors filed a:

       A.      Motion for (I) Authority to (A) Obtain Postpetition Financing, (B) Use
               Cash Collateral, (C) Grant Liens and Provide Superpriority Administrative
               Expense Status, (D) Grant Adequate Protection, (E) Modify the Automatic
               Stay, and (F) Schedule and Final Hearing and (II) Related Relief (the “DIP
               and Cash Collateral Motion”) [ECF No. 14]; and

       B.      Motion (I) Authorizing Debtors to (A) Continue Their Insurance Programs
               and Surety Bond Program and (B) Pay All Obligations With Respect
               Thereto, and (II) Granting Related Relief (the “Surety Bond Motion”)
               [ECF No. 8].

       13.     On September 28, 2022 and September 29, 2022, respectively, the

Bankruptcy Court entered Interim Orders granting the DIP and Cash Collateral Motion

and Surety Bond Motion.

       14.     On October 25, 2022 and November 2, 2022, respectively, the Bankruptcy Court

entered Final Orders granting the DIP and Cash Collateral Motion and Surety Bond Motion.

       15.     In the Final Order granting the Surety Bond Motion, the Debtors agreed

       Nothing contained in the Motion, the Interim Order, this Final Order, the DIP
       Order, or the DIP Credit Agreement (as defined in the DIP Order) shall preclude
       U.S. Specialty Insurance Company (the “Surety”): (a) from seeking relief from the
       automatic stay with respect to that certain surety bond (the “Surety Bond”) issued
       in connection with that certain General Indemnity Agreement and the Collateral
       Security Agreement entered into by Debtor Phoenix Services LLC with the Surety
       on January 30, 2017; (b) from declining to renew or increase the amount of the
       Surety Bond; (c) from declining to extend the Surety Bond beyond its term; or
       (d) from declining to provide consent to, or otherwise exercise any rights in
       response to, a proposed assumption and/or assignment of the Surety Bond.
       Notwithstanding anything in the Motion, this Final Order, the DIP Order, or the
       DIP Credit Agreement to the contrary, the rights and defenses of the Debtors and
       Surety, as applicable, are fully preserved with respect to the Surety Bond, the
       General Indemnity Agreement, and the Collateral Security Agreement

       16.     In the Final Order granting the DIP and Cash Collateral Motion, the

Debtors agreed




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        Nothing in the Motion, the Interim Order, this Final Order, or the DIP Credit
        Agreement shall prime any (i) valid and properly perfected lien of U.S. Specialty
        Insurance Company (the “Surety”) over collateral in the amount of $50,000 cash
        provided to the Surety in connection with that certain General Indemnity
        Agreement and the Collateral Security Agreement entered into by Debtor Phoenix
        Services LLC with the Surety on January 30, 2017 (such collateral, the “Bond
        Collateral’) and (ii) setoff and/or recoupment rights and/or lien rights of the Surety
        or of any party to whom the Surety has or may become subrogated. In addition,
        notwithstanding anything in the Motion, the Interim Order, this Final Order, or the
        DIP Credit Agreement to the contrary, the rights and defenses of the Debtors and
        the Surety, as applicable, are fully preserved with respect to the Bond Collateral
        and any of the Surety’s setoff, recoupment, subrogation and common law rights.

                                                The Claim

        17.     The Surety’s claims, which are contingent and/or unliquidated, arise from: (a) the

Indemnity Agreement; (b) the Customs Bonds; (c) statutory lien rights upon imported goods, (d)

common law indemnification and/or exoneration rights, (e) any collateral-related agreements,

documents or instruments, including the Collateral Security Agreement; (f) potential common law,

statutory and or contractual subrogation rights; and (g) potential setoff and/or recoupment rights.

        18.     The Surety’s claims are comprised of: (a) the penal sums of the two Customs Bonds

which are $50,000 each2; (b) the aggregate amount of the penal sums of all of the other bonds; (c)

any claim by an obligee on a bond that is in excess of a penal sum of the bond; (d) unpaid

premiums, if any; (e) subrogation, setoff and/or recoupment rights, if any; (f) a secured lien to the

extent of any unpaid duties upon imported merchandise covered by either Customs Bond; and (g)

without limitation, any and all liability, damage, loss, cost, and expense of whatsoever kind or

nature, including attorneys’ fees, consulting fees, accounting fees, costs and expenses which the

Surety may at any time sustain or incur by reason of or in consequence of having executed or

procured the execution of the Customs Bonds, in enforcing its common law and/or contractual


2
 To the extent the Customs Bonds stack, the penal sum is $50,000 for each year per bond. The CB Custom Bond
became effective Feb. 6, 2017, whereas the BND Custom Bond became effective June 15, 2022.




                                                      5
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indemnity or indemnity-related rights and/or in attempting to procure the Surety’s release of

obligations, if any, under the Customs Bonds. The claim is contingent and/or unliquidated at

present because the precise amount of the claim is not currently knowable. The Surety’s potential

claim is greater than the penal sum of the Customs Bonds.

           19.      In the event payments are made by the Surety pursuant to either Customs Bond, the

liquidated portion of the claim will be increased, with the contingent and/or unliquidated portion

decreased accordingly. Certain attorneys’ fees and expenses have already been expended in

relation to, among other things, the Customs Bonds and enforcing the Indemnity Agreement and

Collateral Security Agreement and comprise current, non-contingent, liquidated claims.

Attorneys’ fees and expenses through April 30, 2023, total $11,943.12.3 The Surety is entitled to

be indemnified for, among other things, all fees and expenses it has incurred and will incur.

           20.      The amounts referred to in this proof of claim do not include any claim related to

any bond issued and/or executed post-petition, if any. The Surety has no obligation to issue bonds

post-petition or otherwise. However, to the extent that the Surety has issued or may issue and/or

execute any new bond, and/or has or may roll over and/or renew any bond (including the Customs

Bonds), and/or issue and/or execute any riders to any existing bond (including the Customs

Bonds), the Surety asserts an administrative claim and reserves all rights with respect to any and

all claims arising from same, including, without limitation, further requests for administrative

expense priority claims under section 11 U.S.C. § 503 and claims against any collateral security

held by or for the benefit of the Surety.

           21.      The Surety may become subrogated to the rights of (and/or receive assignments

from) other creditors, including CBP, or potential creditors, including creditors who have and/or


3   This takes into account $10,510.82 already paid by the Debtor.




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will file proofs of claim, and who may, inter alia, assert a secured claim, including without

limitation, a secured claim based on set-off rights, and/or a claim based on a lease. To the extent

the Surety’s claim arises from its subrogation rights, the Surety’s claim may be entitled to various

priority and/or administrative treatment if the Surety is subrogated to the rights of any other person

or entity that could assert such claims. The Surety expressly reserves all rights and claims in

connection therewith. Specifically, the Surety has equitable subrogation rights to the extent the

Surety incurs losses in connection with discharging an obligation under any or all of its bonds

issued on behalf of the Debtors and/or their non-debtor affiliates, including the Customs Bonds.

In addition, parties to whose rights the Surety may be or may become equitably subrogated may

have other claims against the Debtors including, but not limited to, administrative claims under 11

U.S.C. § 503(b), priority claims under 11 U.S.C. § 507, reclamation rights, and/or rights related to

the assumption or rejection of a lease or executory contract. To the extent that the Surety is

subrogated to the rights of such claimants, the Surety reserves the right to assert such further and

additional claims (whether secured, unsecured, administrative, priority or otherwise) against the

Debtors and its estate as applicable.

          22.     The Surety may, in the future, be subrogated to the rights of (and/or receive

assignments from) other creditors who have filed and/or will file proofs of claims.

          23.     To the extent either Customs Bond, the Indemnity Agreement and/or the Collateral

Security Agreement are deemed to be executory contracts and are assumed in connection with the

Debtors’ bankruptcy cases, all obligations thereunder will be payable as administrative expense

priority claims, and the Surety reserves all rights, claims and defenses with respect thereto.4 Any

bonds (including the Custom Bonds), the Indemnity Agreement and/or the Collateral Security


4   The Debtor has indicated it plans to cancel the BND Custom Bond.




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Agreement issued by the Surety may not be assumed absent the Surety’s express consent. The

Surety also reserves the right to assert an administrative claim for all post-petition claims arising

after the petition date but prior to any rejection of either Customs Bond and/or the Indemnity

Agreement and/or the Collateral Security Agreement, to the extent any of these documents are

found to be executory. The Surety reserves further all rights, claims and defenses with respect to,

among other things, the characterization of the bonds (including the Customs Bonds) and/or the

Indemnity Agreement and/or the Collateral Security Agreement as executory contracts, and

whether they may be assumed.

       24.     The Surety asserts a secured claim, secured deficiency claim or other claim to the

extent of any assets held by the Surety provided by the Debtor to secure its obligations, including

but not limited to, the Bond Collateral, as well as to the extent of any setoff or recoupment rights.

The Surety asserts that any collateral security of the Surety (including the Bond Collateral) is not

the property of the bankruptcy estate(s) for this or related matter, and the Surety reserves all rights

in connection therewith (including, among other reasons, because such collateral security was not

deposited by the Debtors). To the extent such property may be deemed to be property of the

estate(s), the Surety asserts a perfected, secured claim with respect thereto. The Surety’s secured

claims include all of the items listed herein, including fees, costs and expenses, all of which are

also expressly made part of this claim. Further, the Surety’s claim is secured to the extent of any

unpaid duties for merchandise imported into the United States as a result of the Customs Bonds.

See 19 § CFR 141.1. Moreover, the Surety’s claim may be secured to the extent the Surety is

equitably subrogated to the rights of a secured third party. The Surety’s calculation of any secured

claim may exclude third-party collateral (if any) which may be held or recoverable by the Surety,

as well as the right of recovery which the Surety may have against third parties. The Surety also




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reserves the right to allocate, re-allocate, or to suspend the allocation or reallocation of any and all

collateral security and/or payments and/or other aspects of any secured claim secured deficiency

claim or unsecured claim, priority claim or administrative claim at any time, in any manner

permissible by law or equity, to any item of its claim. Any specific dollar amount describing the

Surety’s claim is for information purposes.

        25.     To the extent the Bond Collateral provided by a third-party is applied and the claim

is reduced by the amount of such collateral, the Surety continues to assert its entire claim, without

applying such collateral, against the other Debtor. The Surety’s secured claims, if any, include all

of the items listed herein, including fees, costs and expenses, all of which are also expressly made

part of this claim. Further, the Surety’s claim may also be secured to the extent the Surety is

equitably subrogated to the rights of a secured third party.

        26.     The Surety’s calculation of its secured claim, if any, may exclude third-party

collateral, if any, which may be held or recoverable by the Surety, as well as the right of recovery

which the Surety may have against third parties.

        27.     Further, to the extent the Surety’s claim arises from its rights of subrogation, either

to the rights and/or claims of any of the Debtors, any of the obligees under the Bonds or any

beneficiary in relation to any of the Bonds, The Surety’s claim may be entitled to various trust

fund, secured (via set-off or otherwise), priority and/or administrative treatment, to the extent the

Surety is subrogated to the rights of another party that could assert such claims. The Surety

expressly asserts such claims and reserves all rights in connection therewith. Specifically, the

Surety has equitable subrogation rights to the extent it has incurred or incurs losses in connection

with discharging an obligation under any or all of its bonds issued on behalf of certain of the

Debtors. In addition, parties to whose rights the Surety may be or may become equitably




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subrogated may have other claims against Debtors including, but not limited to, administrative

claims under 11 U.S.C. §503(b), priority claims under 11 U.S.C. §507, including for unpaid

benefits, reclamation rights, and/or rights related to the assumption or rejection of a lease or

executory contract. To the extent that the Surety is subrogated to such rights, the Surety reserves

the right to assert such further and additional claims (whether secured, unsecured, administrative,

priority or otherwise) against any of the Debtors and their estate(s), as applicable.

                                      Reservation of Rights

       28.     Nothing contained in this Proof of Claim shall constitute a waiver of: (a) the right

to have final orders in non-core matters entered only after de novo review by a District Court

Judge; (b) the right to trial by jury in any proceeding triable in this case or any case, controversy,

or proceeding related to this case; (c) the right to have the District Court withdraw the reference in

any matter subject to mandatory or discretionary abstention; (d) any objection to the jurisdiction

or venue of this Court; (e) an election of remedy; (f) the right to amend this proof of claim; (g) the

right to assert claims for attorneys’ fees and costs which may accrue or have accrued; and/or (h)

any other right, claim, defense, action, setoff, or recoupment, in law or in equity, under any

agreement, all of which are expressly reserved.

       29.     Nothing in this Proof of Claim (including, without limitation, statements as to the

amount of the Surety’s secured and/or unsecured or deficiency claim) shall constitute an admission

of any fact or matter, and the Surety reserves all its rights and positions in any manner relating

thereto. The Surety further reserves all rights, claims and defenses regarding any claim against

any bond, including the Bonds. Nothing herein shall be deemed as an admission with respect to

such claims or otherwise, nor shall anything herein be construed as a waiver of any of the Surety's

rights, claims or defenses.




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        30.       The Surety reserves all of its rights in connection with the Bonds, at law, and in

equity, none of which have been waived in whole or in part. The Surety also reserves the right to

amend and or supplement this proof of claim.

        31.       The Surety reserves its rights to file separate claim(s) for administrative expenses

in this matter.




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                       EXHIBIT A
                      Customs Bond
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                     DEPARTMENT OF HOMELAND SECURITY                                                                                       OMB APPROVAL NO. 1651-0050
                                                                                                                                           EXPIRATION DATE 09/30/2020
                        U.S. Customs and Border Protection
                                                                                                                BOND NUMBER (Assigned by CBP)
                                                                                                     CBP
                                   CUSTOMS BOND                                                      USE
                                                                                                     ONLY       22C000Q49
                                        19 CFR Part 113

    Broker Filer Code: BPQ                                      Surety Reference Number: CTB000757156
  In order to secure payment of any duty, tax or charge and compliance with law or regulation as a result of activity Execution Date
  covered by any condition referenced below, we, the below name principal(s) and surety(ies), bind ourselves to the
  United States in the amount or amounts, as set forth below.                                                                     05/11/2022
  SECTION I – Select Single Transaction OR Continuous Bond (not both) and fill in the applicable blank spaces.
      SINGLE             Identification of transaction secured by this bond (e.g., entry number,        Transaction Date          Port Code
      TRANSACTION seizure number, etc.)
      BOND
      CONTINUOUS         Effective Date This bond remains in force for one year beginning with the effective date and for each succeeding
      BOND                                   annual period, or until terminated. This bond constitutes a separate bond for each period in the
                                             amounts listed below for liabilities that accrue in each period. The intention to terminate this bond
                         06/15/2022 must be conveyed within the period and manner prescribed in the CBP Regulations.
  SECTION II – This bond includes the following agreements. Check one box only. (Except 3a may be checked independently or with 3.)
   Activity      Activity Name and CBP Regulations                Limit of Liability   Activity     Activity Name and CBP Regulations                 Limit of Liability
    Code              in which conditions codified                                      Code             in which conditions codified
      1       Importer or broker ………………..…..§113.62                                        8      Detention of Copyrighted Material
                                                                                                  …………………………………… §113.70
                                                                50000.00                                  -Single Transaction Only-
      1a      Drawback Payments Refunds ……...§113.65                                       9      Neutrality .......................... §113.71
                                                                                                          -Single Transaction Only-
      2       Custodian of Bonded Merchandise §113.63                                      10     Court Costs for Condemned Goods
              (Includes bonded carriers, freight forwarders,                                      ……………………………………..§113.72
              cartmen and lightermen, all classes of
              warehouse, container station operators)
                         -Continuous Bond Only-                                                           -Single Transaction Only-
      3       International Carrier………………..…§113.64                                        11     Airport Security Bond……Part 113 App A

      3a      Instruments of International Traffic... §113.66                              12     International Trade Commission (ITC)
                        -Continuous Bond Only-                                                    Exclusion Bond…………..Part 113 App B
      4       Foreign Trade Zone………….……....§113.73                                         14     In-Bond Export
                        -Continuous Bond Only-                                                    Consolidation Bond
      5       Public Gauger……………………… §113.67                                               15     Intellectual Property Rights (IPR)
      6       Wool & Fur Products……………….. §113.68                                          16     Importer Security Filing (ISF)
              Labeling Acts Importation                                                           ..............................Part 113 App D
                         -Single Transaction Only-
      7       Bill of Lading…………………………§113.69                                              17     Marine Terminal Operator
                         -Single Transaction Only-                                                -Continuous Bond Only-
   PRINCIPAL                                                          By checking the box you agree that you have a                AFFIX SEAL or Check Box
                                                                      seal in accordance with 19 CFR 113.25
 Name and Physical Address (including legal description               CBP Identification Number:
 and state of incorporation)
  Phoenix Services

  148 W State St
                                                                      Signature
  Suite 301

  Kennett Square, Pennsylvania, 19348                                Bond Electronically Filed
                                                                                                                                        Check Box
Principal and surety agree that any charge against the bond under any of the listed names is as                   Mailing Address Requested by the Surety
though it was made by the principal(s). Principal and surety agree that they are bound to the
same extent as if they executed a separate bond covering each set of conditions incorporated                       U.S. Specialty Insurance Company

by reference to the CBP regulations into this bond. If the surety fails to appoint an agent under                  (A Texas Corporation)
Title 31, United States Code, Section 9306, surety consents to service on the Clerk of any                         13403 Northwest Freeway,
United States District Court or the U.S. Court of International Trade, where suit is brought on                    Houston, TX, 77040
this bond. That clerk is to send notice of the service to the surety at:
     SURETY
 Name and Physical Address (including legal description              Surety Number                Agent ID Number
 and state of incorporation)                                                                      095-XX-7438
  U.S. Specialty Insurance Company
                                                                     Signature
  (A Texas Corporation)

  13403 Northwest Freeway,

  Houston, TX, 77040
                                                                     Philip DiChiara                                                    Check Box

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     Broker Filer Code: BPQ                                Surety Reference Number: CTB000757156

     Principal Name: Phoenix Services                          CBP Identification Number:                                   AFFIX SEAL
                                                                                                                                or
                                                                                                                            Check Box
                                                                                                                   By checking the box you agree
  CO-PRINCIPAL                                                                                                         that you have a seal in
                                                                                                                  accordance with 19 CFR 113.25
  Name and Physical Address (including legal description       CBP Identification Number:
  and state of incorporation)


                                                               Signature




                                                                                                                       Check Box



  SECTION III – List below the complete name of all trade names or unincorporated divisions that will be permitted to obligate this bond in
                     the principal’s name including their CBP Identification Number(s).
       CBP Identification Number                       Name                       CBP Identification Number                   Name




                                                                              Total Number of Importer Names listed in Section III:

  CO-SURETY
  Name and Physical Address (including legal description       Surety Number              Agent ID Number
  and state of incorporation)

                                                               Signature




                                                                                                                       Check Box
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                        EXHIBIT B
                    Indemnity Agreement
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                        EXHIBIT C
               Collateral Security Agreement
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